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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

TRUSTEES OF THE NORTHEAST CARPENTERS
HEALTH, PENSION, ANNUITY, APPRENTICESHIP and
LABOR MANAGEMENT COOPERATION FUNDS,          20 CV _____________
                                                 Petitioners, PETITION TO
                                                              CONFIRM AN
                          -against-
                                                              ARBITRATION AWARD
 VERSATILE CONSTRUCTION, INC.,

                                                Respondent.

       Petitioners, Trustees of the Northeast Carpenters Health, Pension, Annuity, Apprenticeship

and Labor Management Cooperation Funds (“Petitioners” and/or the “Funds”) by and through

their attorneys, Virginia & Ambinder, LLP (“V&A”), as and for their Petition to Confirm an

Arbitration Award, respectfully allege as follows:

                                 NATURE OF THE ACTION

       1.      This is an action under section 502(a)(3) of the Employee Retirement Income

Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. § 1132(a)(3); section 301 of the Labor

Management Relations Act of 1947 (“LMRA”), as amended, 29 U.S.C. § 185, to confirm and

enforce an Arbitrator’s Award rendered pursuant to a collective bargaining agreement between the

North Atlantic States Regional Council of Carpenters f/k/a the New England Regional Council of

Carpenters (“Union”) and Versatile Construction, Inc. (“Respondent”).

                                JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1367,

and 29 U.S.C. §§ 185 and 1132(e)(1).

       3.      Venue is proper in this Court pursuant to 29 U.S.C. § 1132(e)(2) because the ERISA

Funds (as defined below) are administered in this district.
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                                      THE PARTIES

       4.     Petitioners Trustees of the Northeast Carpenters Health, Pension, Annuity and

Apprenticeship Funds, successors to the Empire State Carpenters Annuity, Apprenticeship,

Pension, and Welfare Funds (the “ERISA Funds”) are employer and employee trustees of

multiemployer labor-management trust funds organized and operated in accordance with ERISA.

The Trustees are fiduciaries of the ERISA Funds within the meaning of section 3(21) of ERISA,

29 U.S.C. § 1002(21). The ERISA Funds maintain their principal place of business at 270 Motor

Parkway, Hauppauge, New York 11788.

       5.     Petitioners Trustees of the Northeast Carpenters Labor Management Cooperation

Fund, successor to the Empire State Carpenters Labor Management Cooperation Fund (the “Labor

Management Fund”) are employer and employee trustees of a labor management cooperation

committee established under section 302(c)(9) of the LMRA, 29 U.S.C. § 186(d)(9). The Labor

Management Fund maintains its principal place of business at 270 Motor Parkway, Hauppauge,

New York 11788.

       6.     Respondent is a business corporation incorporated under the laws of the State of

New York. At relevant times, Respondent was an employer within the meaning of section 3(5) of

ERISA, 29 U.S.C. § 1002(5), and was an employer in an industry affecting commerce within the

meaning of section 501 of the LMRA, 29 U.S.C. § 142. Respondent maintains its principal place

of business at 62 Cherry Lane, Syosset, New York, 11791.

                              THE ARBITRATION AWARD

       7.     On or about August 18, 2016, Respondent entered into a short form agreement with

the Union. A copy of the short form agreement is annexed hereto as Exhibit A.




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        8.       Pursuant to the short form agreement, Respondent agreed to be bound to every

applicable current collective bargaining agreement between the Union and the members of the

contractor associations. See Exhibit. A.

        9.       The short form agreement further provides that it shall continue in effect for the

duration of the applicable collective bargaining agreements, and shall continue in full force and

effect from year to year unless either party notifies the other in writing of the cancellation of the

agreement at least 90 days before the expiration of the then current collective bargaining

agreement. See Ex. A.

        10.      Upon information and belief, neither Respondent nor the Union provided notice to

terminate the agreement. Respondent therefore remains bound to the short form agreement.

        11.      On or around June 26, 2017, Respondent entered into an agreement (the

“International Agreement”) with the United Brotherhood of Carpenters and Joiners of America

(“UBCJA”). A copy of the International Agreement is annexed hereto as Exhibit B.

        12.      Pursuant to the International Agreement, Respondent agreed to “comply with the

contractual wages, fringe benefits, hours and other working conditions established between the

International Union affiliates and the employers or recognized employer agencies in the localities

in which the Employer does any work within the jurisdiction of the International Union.” Ex. B,

Article I.

        13.      The International Agreement states that “[p]ayment of annuity, pension and/or

health and welfare contributions for an employee’s work in each locality shall be made to such

funds and in such amounts as are identified in the applicable collective bargaining agreement for

that locality . . . .” Ex. B, Art. II.




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        14.     The International Agreement further states that “[t]his Agreement shall be effective

as of the below execution date and shall remain in effect for three (3) years from that date, and it

shall automatically renew itself for subsequent three-year periods unless written notice to terminate

is given by either party to the other by registered or certified mail not more than ninety (90), and

not less than sixty (60), days prior to its expiration date or the expiration date of any subsequent

renewal period.” Ex. B, Art. VIII.

        15.     The International Agreement provides that it shall remain in effect for three years

from the execution date. Accordingly, Respondent remains bound to the International Agreement.

        16.     Pursuant to the short form agreement and the International Agreement, Respondent

has at relevant times been bound to the June 1, 2016 through May 31, 2021 Northwest Region

Agreement (the “Northwest CBA”), the May 1, 2019 through April 30, 2022 Agreement between

Local Union 290 and the Building Contractors Association (the “Local Union 290 CBA”), and the

May 1, 2019 through April 30, 2022 Agreement between the Associations and Local Union 279

(the “Local Union 279 CBA”). Copies of the Northwest CBA, the Local Union 290 CBA, and the

Local Union 279 CBA (collectively, the “CBAs”) are annexed hereto as Exhibit C, Exhibit D,

and Exhibit E, respectively.

        17.     The CBAs require Respondent, inter alia, to make contributions to the Funds for

all work within the trade and geographical jurisdiction of the Union. See Ex. C, Art. 16, Section

1; Ex. D, Art. Sixteen, § (a); Ex. E, Art. Sixteen, § (a).

        18.     The CBAs also require Respondent, inter alia, to comply with the Funds’

agreements, declarations of trust, plans, rules, policies, and regulations. See Ex. C, Art. 16, § 3;

Ex. D, Art. Sixteen, § (a); Ex. E, Art. Sixteen, § (a).




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       19.      The Trustees of the Funds established a Joint Policy for the Collection of

Delinquent Contributions (“Collection Policy”). A copy of the Collection Policy is annexed hereto

as Exhibit F.

       20.      The Collection Policy provides that “[i]f an employer fails to submit remittance

reports, weekly payroll reports, or other reports of work for which contributions to the Funds are

required, such that the Funds cannot determine the amount owed by the employer for a given

month, then…[t]he [Funds] will compute the estimated amount of contributions due by assuming

that the hours for which the employer is obligated to contribute for each week in the unreported

month equal the highest number of average hours for which the employer was obligated to

contribute in a week for any four consecutive weeks within the 36 months immediately preceding

the unreported month.” Ex. F, Art. III, § 3.2.

       21.      Pursuant to the Collection Policy, interest on delinquent contributions is to be

calculated at the rate of 0.75% per month. See Ex. F, Art. II, § 2.1 (D).

       22.      The Collection Policy provides that, “[l]iquidated damages shall be calculated from

the Due Date, and shall become due and owing if suit is commenced and/or arbitration is

demanded. The amount of the liquidated damages shall be 20% of the delinquent Contributions.”

Ex. F, Art. VI, § 6.1.

       23.      A dispute arose when, in violation of the CBA, Respondent failed to submit reports

and contributions owed to the Funds for the period August 1, 2019 to the present.

       24.      The Funds determined Respondent failed to remit an estimated principal deficiency

in the amount of $44,608.77.




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        25.     The Collection Policy provides that, in the event an employer fails to remit

contributions to the Funds, the matter shall be sent to arbitration before the Funds’ designated

arbitrator. See Ex. F, Art. II, § 2.3 (A).

        26.     The Collection Policy further provides that the employer shall be liable for all costs

incurred in collecting delinquent contributions, including without limitation, audit costs and

arbitration fees. See Ex. F, Art. VI, § 6.3.

        27.     Pursuant to the Collection Policy, Petitioners initiated arbitration before the

designated arbitrator, J.J. Pierson. Petitioners noticed said arbitration by mailing a Notice of Intent

to Arbitrate Delinquency to Respondent by Certified Mail. A copy of the Notice of Intent to

Arbitrate Delinquency is annexed hereto as Exhibit G.

        28.     Thereafter, the arbitrator held a hearing and rendered his award, in writing, dated

December 2, 2019, determining said dispute (the “Award”). A copy of the Award was delivered

to Respondent. A copy of the Award is annexed hereto as Exhibit H.

        29.     The arbitrator found that Respondent was in violation of the terms of the CBA and

ordered Respondent to pay the Funds the sum of $52,715.34, consisting of an estimated deficiency

of $44,608.77, current interest of $335.40, past interest of $173.33, liquidated damages of

$5,947.84, attorneys’ fees of $900, and the arbitrator’s fee of $750 pursuant to the CBA. See Ex.

H.

        30.     Respondent has failed to abide by the Award.

        31.     The Award has not been vacated or modified and no application for such relief is

currently pending.

        32.     This petition is timely, as it was filed within the one-year statute of limitations

applicable to a petition to confirm an arbitrator’s award.




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        33.       Petitioners are entitled to the reasonable attorneys’ fees and costs expended in this

matter pursuant to the Award and Section 502(g) of ERISA, 29 U.S.C. § 1132(g). See also Ex. F,

Art. VI, § 6.2.

        34.       Copies of V&A’s contemporaneous time records, reflecting all time spent and all

activities performed in the prosecution of this matter by its attorneys and staff, are annexed hereto

as Exhibit I.

        35.       I, Nicole Marimon (“NM” in the accompanying billing records), am a 2014

graduate of Fordham University School of Law, and a partner at V&A. Since graduating law

school and being admitted to the New York State bar, I have handled the prosecution of numerous

ERISA collections actions. V&A billed my time at a rate of $350 per hour.

        36.       V&A billed the legal assistants’ time at a rate of $120 per hour for work performed

in connection with this action.

        37.       In my experience, the foregoing hourly rates are similar to or lower than the rates

typically charged by attorneys of commensurate skill and experience in similar actions in the

Southern and Eastern Districts of New York.

        38.       V&A’s total billings in this matter amount to $1,140 reflecting 7.2 hours of work.

See Ex. I.

        39.       In addition, V&A will also advance $470 in court filing fees and service fees upon

the filing of the instant petition.

        40.       Accordingly, Petitioners are entitled to recover $1,610 in attorneys’ fees and costs

incurred in connection with this matter.

        WHEREFORE, Petitioners respectfully request that this Court:

              1. Confirm the Award in all respects;




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         2. Award judgment in favor of Petitioners and against Respondent in the amount of

            $52,715.34 pursuant to the Award plus interest from the date of the Award through

            the date of judgment;

         3. Award judgment in favor of the Petitioners and against Respondent in the amount

            of $1,610 in attorneys’ fees and costs arising out of this petition; and

         4. Award Petitioners such other and further relief as is just and proper.


Dated: New York, New York                          Respectfully submitted,
       March 4, 2020
                                                   VIRGINIA & AMBINDER, LLP

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